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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

  UNITED STATES OF AMERICA                             Magistrate No.____________________

             v.                                        Violations:

  DAMON MICHAEL BECKLEY                                18 U.S.C. § 1752(a)
                                                       40 U.S.C. § 5104(e)(2)
                    Defendant.
                                                       UNDER SEAL



  AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT AND ARREST WARRANT

        I, Sean Millett, first being duly sworn, hereby depose and state as follows:

                                          INTRODUCTION

       1.         I am a Special Agent with the Federal Bureau of Investigation (“FBI”). I am

assigned to the Washington Field Office Economic Espionage Squad, tasked with investigating

criminal activity in and around the Capitol grounds. As an FBI Special Agent, I am authorized by

law or by a Government agency to engage in or supervise the prevention, detention, investigation,

or prosecution of a violation of federal criminal laws.

       2.         This affidavit is being submitted in support of a criminal complaint and an arrest

warrant based on probable cause to believe that DAMON MICHAEL BECKLEY has committed

the offenses of Unlawful Entry of a Restricted Building, in violation of Title 18, Section 1752(a),

and Disorderly Conduct on Capitol Grounds, in violation of Title 40, Section 5104(e)(2).

       3.         The facts and information contained in this affidavit are based on my personal

knowledge and observations, my review of records and documents obtained during this

investigation, information received from other individuals, and my experience and training as a

Special Agent.

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       4.        This affidavit is intended to show merely that there is sufficient probable cause for

the requested warrant and does not set forth all of my knowledge about this matter.

                                     STATEMENT OF FACTS

        5.       The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include

permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

        6.       On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members

of the public.

        7.       On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States

Senate were meeting in separate chambers of the United States Capitol to certify the vote count of

the Electoral College of the 2020 Presidential Election, which had taken place on November 3,

2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately

1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.

Vice President Mike Pence was present and presiding, first in the joint session, and then in the

Senate chamber.

        8.       As the proceedings continued in both the House and the Senate, and with Vice

President Mike Pence present and presiding over the Senate, a large crowd gathered outside the

U.S. Capitol. As noted above, temporary and permanent barricades were in place around the

exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep

the crowd away from the Capitol building and the proceedings underway inside.



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        9.       At approximately 2:00 p.m., certain individuals in the crowd forced their way

through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd

advanced to the exterior façade of the building. The crowd was not lawfully authorized to enter

or remain in the building and, prior to entering the building, no members of the crowd submitted

to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized

security officials.

        10.      At such time, the certification proceedings still underway and the exterior doors

and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol

Police attempted to maintain order and keep the crowd from entering the Capitol; however, shortly

after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking

windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged

and assisted those acts.

        11.      Shortly thereafter, at approximately 2:20 p.m. members of the United States House

of Representatives and United States Senate, including the President of the Senate, Vice President

Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, all proceedings

of the United States Congress, including the joint session, were effectively suspended until shortly

after 8:00 p.m. the same day. In light of the dangerous circumstances caused by the unlawful entry

to the U.S. Capitol, including the danger posed by individuals who had entered the U.S. Capitol

without any security screening or weapons check, Congressional proceedings could not resume

until after every unauthorized occupant had left the U.S. Capitol, and the building had been

confirmed secured. The proceedings resumed at approximately 8:00 pm after the building had

been secured. Vice President Pence remained in the United States Capitol from the time he was

evacuated from the Senate Chamber until the session resumed.



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        12.      During national news coverage of the aforementioned events, video footage which

appeared to be captured on mobile devices of persons present on the scene depicted evidence of

violations of local and federal law, including scores of individuals inside the U.S. Capitol building

without authority to be there.

       13.      Your affiant identified DAMON MICHAEL BECKLEY as an individual who was

inside the U.S. Capitol building on January 6, 2021, without authority. The FBI obtained at least

two videos from YouTube and Witness 1 and one screenshot from Witness 1 depicting BECKLEY

on the grounds of the U.S. Capitol on that date. In one video (described below), the portion of the

U.S. Capitol grounds on which BECKLEY was depicted is a portion of the restricted grounds under

18 USC § 1752. That is, BECKLEY was inside the restricted area behind the permanent and

temporary security barriers which posted, cordoned off, and otherwise restricted public access to

the area.

       14.      One video appears to have been recorded using a cellphone or other handheld device

that was taken during the riots in the U.S. Capitol on January 6, 2021. The recording shows scores

of individuals climbing up steps and through scaffolding on the exterior of the Capitol. The video

shows one man who self identifies as DAMON MICHAEL BECKLEY. BECKLEY appears to be

wearing a dark jacket with a lighter grey hood with the hood down, along with a dark colored hat,

and baseball cap. BECKLEY (who can be seen speaking on video) audibly states the following in

the video:


       BECKLEY: Vice President Pence, my name is Damon Michael BECKLEY and I do not
       appreciate one bit this situation you caused here sir. All this violence and everything was
       100 percent unnecessary, okay. Now we've got a girl that's shot, she's dead, laying on the
       ground in there. We're all crying like we can't save her and you her blood is on your hands
       Mike Pence
       UNSUB: say you saw someone get shot
       BECKLEY: they got they shot her right through the neck

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       UNSUB: i heard that too but i thought it was a rumor
       BECKLEY: yeah with a service weapon
       BECKLEY: we're not putting up with this tyrannical rule. if we got to come back here and
       start a revolution and take all of these traitors out, which is what should be done, then we
       will" (end transcription).



       15.      The second video also appears to have been recorded using a cellphone or handheld

device. During the recording, it appears that the individual recording the video briefly turns the

camera around to record the crowd inside the Capitol, at which time BECKLEY is shown in the

recording. BECKLEY appears to be wearing a dark jacket with a lighter grey hood with the hood

up, along with a dark colored hat, and baseball cap.

       16.      I have identified BECKLEY as the person depicted in the photograph and videos in

the following ways. First, on January 7, 2021, Witness 1, an individual with knowledge of

BECKLEY’s social media activities contacted the FBI and reported that BECKLEY had posted a

photograph of himself inside the Capitol building on January 6, 2021. The affiant obtained several

screenshots from Witness 1, at least one of which appeared to depict BECKLEY inside the Capitol

building during the riots on January 6, 2021. Second, investigators obtained the Kentucky

Department of Motor Vehicle (DMV) photograph of BECKLEY and compared it to video and

photograph described herein. The DMV photograph of BECKLEY appears to your affiant to match

the individual shown in the videos and screenshots.

       17.      Based on the foregoing, your affiant submits that there is probable cause to believe

that BECKLEY violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly

enter or remain in any restricted building or grounds without lawful authority to do; and (2)

knowingly, and with intent to impede or disrupt the orderly conduct of Government business or

official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any


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restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly

conduct of Government business or official functions; or attempts or conspires to do so. For

purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or

otherwise restricted area of a building or grounds where the President or other person protected by

the Secret Service, including the Vice President, is or will be temporarily visiting; or any building

or grounds so restricted in conjunction with an event designated as a special event of national

significance.

       18.      Your affiant submits there is also probable cause to believe that BECKLEY violated

40 U.S.C. § 5104(e)(2)(C), (D), (E) and (G), which makes it a crime to willfully and knowingly

(C) with the intent to disrupt the orderly conduct of official business, enter or remain in a room in

any of the Capitol Buildings set aside or designated for the use of— (i) either House of Congress

or a Member, committee, officer, or employee of Congress, or either House of Congress; (D) utter

loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place

in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the

orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in that

building of a hearing before, or any deliberations of, a committee of Congress or either House of

Congress; (E) obstruct, or impede passage through or within, the Grounds or any of the Capitol

Buildings; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




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                                         CONCLUSION

       19.      Based on my training and experience, and the information provided in this affidavit,

there is probable cause to believe that on or about January 6, 2021, in the District of Columbia,

DAMON MICHAEL BECKLEY did knowingly and willfully commit the offenses of Unlawful

Entry of a Restricted Building, in violation of Title 18, Section 1752(a), and Disorderly Conduct

on Capitol Grounds, in violation of Title 40, Section 5104(e)(2).




                                                      _________________________________
                                                      Special Agent Sean Millett
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 14th day of January 2021.                                    Robin M. Meriweather
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                                                      ___________________________________
                                                      Robin M. Meriweather
                                                      U.S. MAGISTRATE JUDGE




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